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Exhibit E
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772 SUPPLEMENTAL REPORT OF STEVE J. MARTIN

PREPARED-FOR THE U.S. DEPARTMENT OF JUSTICE
CIVIL RIGHTS DIVISION/SPECIAL LITIGATION SECTION

ON THE

SON COUNTY DETENTION CENTER
GULFPORT, MISSISSIPPI

FEBRUARY 1, 2005

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This is the 7” ina series of reports addressing the defendants’ compliance with certain

provisions of the Consent Judgment entered between the parties on January 11,.1995. The six

previous reports have detailed numerous, serious and persistent problems related to
overcrowding, staffing and security. The last report in this series was filed after a site inspection
in November 2001 (see 6" Supplemental Report of Steve J. Martin, February 20, 2002), After
this report was filed, the Department of Justice filed their Motion For Order To Show Cause Why
Defendants Should Not Be Held i tn Civil Contempt, This motion included my declaration
detailing longstariding and pervasive staffing deficiencies at the Harrison County Detention
Center (“H CDC”), The motion resulted in a considerable increase in security staff assigned to

. bowsing and support areas of HCDC..

The current report documents the defendants’ compliance in light of thes recentand ~

significant ir increases in security staffing. . The majority of the new staff positions came online
between April 2004 and October 2004, This most recent site inspection occured on December

14-15, 2004, While the recent staff allocation certainly represents a serious commitment by

Harrison County officials to facilitate compliance with the terms of the Consent Judgmut, the

recent gains made through the increased staffing allocation are seriously undermined and
jeopardized by egregious overcrowding, as detailed below

Il. METHODOLOGY
In preparation of this site inspection, the quarterly reports submitted by the defentnts

were reviewed, especially those reports submitted from April 2004 to present. These quaterly

reports contain daily population data, post assignment/master rosters, and statistical repotson
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Post Assignment rosters (Novembe/December 2004) indicate that officers are routinely assigned |
to all essential posts on all shifts. The facility is also now operating with an adequate number of ,
officers in such support positions as rovers, transport and medical security. HCDC officials have '

done an admirable job of recruiting, hiring and training such asizeable cadre of new staff during

the last six months of 2004, The required pre-service training course is supplemented by a on-

the-job training program in which all new officers are assigned a Field Training Officer who

, systematically trains officers on specific posts utilizing performance checklists to establish a

requisite level proficiency. I also reviewed the in-service training course work (40 hours) which

offers an.adequate variety of relevant topics. .

C, Security Administration

1. Staff Use of Force, In the six previous reports filed since 1997 there was a single

instance in which I reported on a misapplication of force, chemical agents or restraints (see 2™
Supplemental Report, July 1998). As aforementioned, there were thirty-one incidents of force in
December.2004, which.represents a serious.increase in the use of force. at the HCDC. In -
reviewing the use of force incident packages for November/December 2004, a very disturbing.
pattern. of misuse of force is evident. Of the four incidents summarized below, it should be noted
that four of the’same officers were involved in two or more of the four incidents, Thesé four,
incidents are summarized to illustrate the nature of the misuse of force, the Jack or sppropriate
review of theancidents, and the failure to properly investigate the incidents. An overcrowded
facility when combined with inexperienced and il-trained staff and inadequate controls to

properly manage staff use of force, inevitably results in incidents such as the following:
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Incident of November 12, 2004: On November 12, 2004 at approximately
‘6:00pm, an officer attempted to place a resisting inmate on the wall in order to
secure and transport him to a secure cell. The inmate struck the officer with a
closed fist, at which time another officer called for assistance. Officers restrained
the inmate and escorted him to pre-hearing detention. Details of this incident
were discussed among other officers in the late evening hours of the 12" and early
morning hours of the 13". At approximately 3:00am on the 13", the inmate was
removed from his pre-hearing detention cell and escorted to an outdoor recreation
yard on the cellblock where at least six officers were present, some of whom then
_ assaulted the inmate. On November 22™, the security captain received
information about this incident from a non-involved officer on the midnight shift.
The captain interviewed two of the six officers present during the assault, both of
whom acknowledged the incident. None*ofthe six officers present-had fikd’ any
written reports in the immediate aftermath of the incident. This matter wis
referred for investigation which is pending. At the time of the site inspection, no
disciplinary or administrative action had been initiated on any of the six officers

candvthey remain in inmate contact positions.at the facility.

iagidents of November 16, 2004: Two inmates jad a verbal confrontation vith an

ould have been avoided entire) if
oreover, the sergeant should Hay
“who was involved in the verb
Of OC | spray on an. unarmed

de-escalation procedures bee
assémbled escort officers 0 |
altercation. Finally, three s

inmate who should have-been.im St
evidence. of very question use of. force ta os “that should have been at ea

reviewed or investigated by a non- -involved. supervisor.

fi ‘intake process, an inmate-threw a

Incident of Novembet. 28, 2004: Durin,
ministered a one -second, ‘burst v

article of clothing at an ‘officer: ‘The: offic rad)
OC spray, after which he: and two other officers. immediately took the inmate
the ground and restrained him, The other’ ‘two offi cers failed to file: reports OF lig

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incident. The inmate sustained the following unexplained injuries: swollen ear,
abrasions to jaw and left and right back and a laceration to the lip. There is no
evidence that this incident was subject to review or investigation, notwithstanding
a failure to report by two officers and unexplained hard-impact injuries consistent
with allegations’made by the inmate that the officers assaulted him with closed
fists and kicks. Two of the three éfficers involved in this incident were also
among the six officers present in the 1 1/12/04 incident, above.

Incident of December 14, 2004: Booking officers inexplicably chose to escort an
intoxicated inmate to the dayroom of a housing unit, When the inmate resisted
the escort to the housing unit, an altercation ensued between the inrnate and three
booking officers. After the altercation in the booking area, the three officers

_ escorted the inmate to the cellblock. Once the inmate was inthe cellblock, he
complained of an injury he received as a result of the altercation in booking.
‘When these booking officers, who had returned to the booking area, heard via

‘ radio that medical personnel had been ‘dispatched to the cellblock, they of their
owt acéord fetumed to the cellblock where another altercation occurred in which
hard impact closed fist strikes were exchanged between the inmate and one of the
three booking officers, During the course of tlie site inspection on December 14,
Linterviewed the subject inmate who had sustained obvious and multiple head -

"trauma (eye swollen shut, swelling in temporal area and cheek). The use of force
report on the earlier incidents had been completed. The section of the report
completed by medical staff found no injuries were sustained by the inmate. The:
security captain who accompanied me on'the site inspection ordered that the
inmate be re-examined and photos taken of his injuries, Upon re-examination,
‘medical staff again failed to note at least three separate and obvious facial/eye
injliriés sustained by the inmate during the-altercations, Theinjuries were'finally
noted on bis medical chart when | specifically requested same, In an egregious
violation of their own inmate disciplinary procedures, personnel, without a
hearing of any kind, found the inmate guilty of assault within hours of the
incidént (the Rule Violation Report contains an obvious false entry that the inmate

admitted guilt).

2, Inmate Classification, The present classification system is seriously compromused due

to the extreme overcrowding. Asaresult, classification personnel rely almost exclusively on the
current charge offense behavior to house inmates, Space is simply too scarce to allow personnel

to make housing decisions beyond such categories as juvenile/adult, male/female,

misdemeanor/felony. Behavior-based custody decisions are at best reactive rather than
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inmates use a single toilet which is in obvious violation of the American Correctional

Association Standard of one toilet for every twelve inmates. The shower ratios are equally

deficient.

LV. CONCLUSIONS

Severe overcrowding has adversely impacted virtually all areas of operation. The
laudable gains made with increased staff are seriously undermined by the sheer number of
inmates housed at HCDC. Both the physical plant and security operations are presently”

compromised to a point at which the facility is unsafe for both inmates and staff.

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